    Case 4:24-cv-00446-O Document 37 Filed 07/03/24                             Page 1 of 17 PageID 13032



                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

    AMERICANS FOR BENEFICIARY                               §
    CHOICE, et al.,                                         §
                                                            §
           Plaintiffs                                       §
                                                            §
    v.                                                      §
                                                                  Civil Action No. 4:24-cv-00439-O
                                                            §
    UNITED STATES DEPARTMENT OF                             §
    HEALTH AND HUMAN SERVICES; et                           §
    al.,                                                    §
                                                            §
           Defendants.                                      §
                                                            §


    COUNCIL FOR MEDICARE CHOICE,                            §
    et al.,                                                 §
            Plaintiffs                                      §
                                                            §
    v.                                                      §
                                                            §     Civil Action No. 4:24-cv-00446-O
    UNITED STATES DEPARTMENT OF                             §
    HEALTH AND HUMAN SERVICES; et                           §
    al.,                                                    §
                                                            §
           Defendants.                                      §

                               MEMORANDUM OPINION AND ORDER

          Before the Court are Americans for Beneficiary Choice                           and Council for Medicare

Choice                  (collectively,                    Motions for a Stay of Effective Date (ECF Nos. 7,

19) and accompanying briefs (ECF Nos. 8, 20); the                                           Consolidated Response

(ECF Nos. 24, 25); and                       respective replies (ECF Nos. 28, 30). For the reasons stated

herein,               Motions for a Stay are GRANTED in part and DENIED in part.1



1
 For clarity, the Plaintiffs Motions for a Stay under section 705 are only denied in so far as they seek to stay the rules
for the sharing of personal beneficiary information.

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 Case 4:24-cv-00446-O Document 37 Filed 07/03/24                  Page 2 of 17 PageID 13033



I.     BACKGROUND

       A. The Final Rule

       Medicare is a federal health insurance program for the elderly and persons with certain

disabilities. Medicare Advantage           is a private alternative to traditional Medicare in which

the government contracts with private health insurers to provide beneficiaries with the coverage

they would otherwise receive under traditional Medicare. 42 U.S.C. § 1395w-22(a). Additionally,

under Medicare Part D, the federal government contracts with private drug plan sponsors to

provide drug benefits. Id. § 1395w-101. About fifteen years ago, Congress authorized the Centers

for Medicare and Medicaid Services                   to set             to          that the use of

compensation creates incentives for agents and brokers to enroll individuals in the Medicare

Advantage plan that is intended to best meet their health care         Id. § 1395w-21(j)(2)(D); see

also id. § 1395w-104(l)(2) (applying same to Part D).

       Under this scheme, CMS regulates compensation that MA and Medicare Part D plans pay

to independent agents and brokers who help beneficiaries select and enroll in private plans. In

doing so, CMS places price caps on                       paid to agents and brokers for enrollments.

42 C.F.R. § 422.2274(d)(2) (3). The current price cap for new enrollments is $611. Changes to

MA for Contract Year 2024, 89 Fed. Reg. 30448, 30621 (Apr. 23, 2024).

       In addition to payments made to agents and brokers, insurance carriers also reimburse

third-party firms for administrative services provided to agents and brokers as part of the MA

enrollment process. These services include fielding and recording                  calls; developing

technology such as plan-comparison tools that agents deploy in the field; assisting agents and

brokers with obtaining necessary licenses, certifications, and trainings; and launching marketing

campaigns.



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 Case 4:24-cv-00446-O Document 37 Filed 07/03/24                   Page 3 of 17 PageID 13034



       Until recently, CMS did not cap payments for administrative services because it did not

classify payment for those services as                     . 42 U.S.C. § 1395w-21(j)(2)(D); see

Medicare Program Revisions, 73 Fed. Reg. 54226, 54239 (Sept. 18, 2008); Medicare and Medicaid

Programs, Contract Year 2022 Changes, 86 Fed. Reg. 5864, 5993 (Jan. 19, 2021). Instead, CMS

only required that administrative payments not exceed               value of those services in the

               42 C.F.R. § 422.2274(e)(1) (2).

       This changed when CMS shifted course this year and began to set fixed rates for a wide

range of administrative payments that were previously uncapped and unregulated as compensation.

To that end, CMS promulgated a new rule (the                    . Changes to MA for Contract Year

2024, 89 Fed. Reg. at 30448. Key provisions of the Final Rule seek to regulate administrative

payments as                   and limit the total payments that carriers can make for administrative

services to $100 (the                Id. at 30621 (42 C.F.R § 422.2274(a), (e) and § 423.2274(a),

(e)). The Final Rule also introduces new prohibitions on contract terms that health plan carriers

may offer third-party firms or agents and brokers (the            -Terms                Id. at 30620

(42 C.F.R. § 422.2274(c)(13) and § 423.2274(c)(13). Under the Contract-Terms Restriction, health

plan carriers must           that no provision of a contract with an agent, broker, or other [third-

party marketing organization] has a direct or indirect effect of creating an incentive that would

reasonably be expected to inhibit an agent or            ability to objectively assess and recommend

which plan best fits the health care needs of a               Id. at 30829. CMS provided examples

of prohibited terms, which focus on schemes to circumvent existing compensation caps, such as

volume-based bonuses. Id. at 30621. In conjunction with the Fixed Fee and Contract-Terms

Restriction, the Final Rule also prohibits third-party firms from                     any personal

beneficiary data that they         to any other third-party marketing organizations without consent



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    Case 4:24-cv-00446-O Document 37 Filed 07/03/24                        Page 4 of 17 PageID 13035



             Requirement . Id. at 30599. This prohibition covers a                                       address,

and phone               as well as         other information given by the beneficiary for the purpose of

finding an appropriate MA or Part D                   Id. at 30604. Notably, this same data qualifies as

             health                  for purposes of the Health Insurance Portability and Accountability

Act ( HIPAA ). 45 C.F.R. § 164.105(c).

          Plaintiffs filed two separate cases2 seeking a section 705 stay or, in the alternative, a

preliminary injunction of the Fixed Fee, Contract-Terms Restriction, and Consent Requirement.3

Given the similarity of issues raised by the Plaintiffs in these cases, the parties agreed to a joint

scheduling order and Defendants agreed to respond to both ABC and                               Motions in one

consolidated response.4 Plaintiffs filed their separate responses on June 7, 2024, making both ABC

and           Motions for a Stay ripe for review.5

          B. The Parties

          Plaintiffs are ABC, Senior Security Benefits, LLC                                  CMC, Fort Worth

Association of Health Underwriters, Inc.                     Fort            ,6 and Vogue Insurance Agency

LLC                   Senior Security and Vogue are Individual Plaintiffs whose businesses are

impacted by the Final Rule. ABC is a trade association who represents health industry stakeholders

in litigation.7 Individual Plaintiff Senior Security is a member of ABC.8 CMC represents

    independent, third-party firms that contract with multiple MA and Medicare Part D health plan


2
  Ams. for Beneficiary Choice v. HHS, No. 4:24-cv-00439-O and Council for Medicare Choice v. HHS, No. 4:24-cv-
446-O. Notice, ECF Nos. 14, 18                                       and complaint will reference Case No. 4:24-cv-
00439-O                                                                   consolidated response will correspond to
Case No. 4:24-cv-446-O.
3
  Only ABC challenges the sharing of personal data prohibitions. 42 C.F.R. §§ 422.2274(g), 423.2274(g). ABC Br. 9,
ECF No. 8.
4
5
  ABC Reply, ECF No. 28; CMC Reply, ECF No. 30.
6
  CMC and NABIP Fort Worth will be referred to colle
7
  ABC Compl. 6, ECF No. 1.
8
  Id. at 7.

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    Case 4:24-cv-00446-O Document 37 Filed 07/03/24                  Page 5 of 17 PageID 13036



carriers and either employ individual agents directly or provide administrative services to a
                                                          9
network of independent-contractor agents or brokers           NABIP Fort Worth represents firms that

provide administrative service to agents and brokers.10 Individual Plaintiff Vogue is a member of

NABIP Fort Worth.11

II.     STANDING

        Because Plaintiffs seek relief on behalf of their members, they must establish associational

standing. As a defense, Defendants argue that Plaintiffs Motions must be denied because the

Plaintiffs lack associational standing.12 The associational standing doctrine permits a traditional

membership organization        invoke the             [injunctive or declaratory] remedial powers on

behalf of its           Warth v. Seldin, 422 U.S. 490, 515 (1975). To do so, the organization must

satisfy the three-prong Hunt test by showing that        its members would otherwise have standing

to sue in their own right; (b) the interests it seeks to protect are germane to the

purpose; and (c) neither the claim asserted nor the relief requested requires the participation of

individual members in the             Students for Fair Admissions, Inc. v. President & Fellows of

Harv. Coll., 143 S. Ct. 2141, 2157 (2023) (quoting Hunt v. Wash. State Apple Advert.                 ,

432 U.S. 333, 343 (1977)).

        Here, Plaintiffs satisfy the three-prong Hunt test. First, ABC and CMC both seek relief on

behalf of their members, Individual Plaintiffs, Senior Security and Vogue, who have standing to

sue. First, Senior Benefits is a firm that provides administrative services to agents. Senior Security

has standing to sue because the Final Rule will directly regulate how plan issuers, agents, and

brokers pay Senior Security for the critical training and administrative support services it


9
  CMC Compl. 4, ECF No. 1.
10
   Id.
11
   Id.
12



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 Case 4:24-cv-00446-O Document 37 Filed 07/03/24                 Page 6 of 17 PageID 13037



provides. 13 Likewise, Vogue, a brokerage agency, has standing to sue because the Final Rule may

cause them to lose access to administrative services.14

       Second, ABC       organizational purpose of protecting the best interests of Medicare and

other health insurance beneficiaries through legislative and regulatory advocacy and participation

in litigation and CMC shared organizational purpose of promoting firms, agents, and brokers,
                                                                 15
and the proven value they provide to plans and to                     are clearly germane to this suit

challenging parts of the Final Rule. Third, because ABC and CMC seek the equitable remedies of

injunctive and declaratory relief from the Final Rule, there is no need for all of their individual

members to participate in the lawsuit.

       In sum, the Court holds that ABC and CMC have demonstrated associational standing and

may pursue relief on behalf of their members.

III.   LEGAL STANDARD




13
   ABC Compl. 7, ECF No. 1.
14
   CMC Compl. 4 5, ECF No. 1.
15
   Id. at 19.

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 Case 4:24-cv-00446-O Document 37 Filed 07/03/24                               Page 7 of 17 PageID 13038




IV.      ANALYSIS

         A. Likelihood of Success on the Merits

         Plaintiffs must first show a substantial likelihood that they will succeed on the merits of

their claims. Daniels Health Servs., 710 F.3d at 582.                 show a likelihood of success, the plaintiff

must present a prima facie case, but need not prove that he is entitled to summary                                   Id.

The Court determines that Plaintiffs have shown a likelihood of success that the Fixed Fee and

Contract-Terms Restrictions are arbitrary and capricious. However, the Court finds that ABC has

not demonstrated a likelihood of success regarding the Consent Requirement.16

             1.        The Fixed Fee and Contract-Terms Restrictions are Arbitrary and
                       Capricious.

         Section 706 of the APA provides that reviewing courts must set aside agency action found

to be                capricious, an abuse of discretion, or otherwise not in accordance with                           5

U.S.C. § 706(2)(A).                    and capricious review focuses on whether an agency articulated a

rational connection between the facts found and the decision                          ExxonMobil Pipeline Co. v.

U.S.          of Transp., 867 F.3d 564, 571 (5th Cir. 2017) (internal quotation marks and citation


16
   Because the Court holds that Plaintiffs have shown a likelihood of success that the Fixed Fee and Contract-Terms
restrictions are arbitrary and capricious, it does not reach the merits of Plaintiffs claims that the Final Rule exceeds
statutory authority.

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 Case 4:24-cv-00446-O Document 37 Filed 07/03/24                      Page 8 of 17 PageID 13039



omitted). An agency must provide a more                                   for a         policy [that] rests

upon factual findings that contradict those which underlay its prior policy; or when its prior policy

has engendered serious reliance interests that must be taken into                  FCC v. Fox Television

Stations, Inc. (Fox I), 556 U.S. 502, 515 (2009) (citing Smiley v. Citibank (South Dakota), N.A.,

517 U.S. 735, 742 (1996)). Plaintiffs are substantially likely to succeed on the merits because the

Fixed Fee and Contract-Terms Restriction are arbitrary and capricious.

                  a. CMS Failed to Substantiate Key Parts of the Final Rule.

          CMS never substantiated its decision to raise the fixed fee by $100 to account for

administrative payments. The $100 fee purports to provide                                  for

administrative tools and              and                           Changes to MA for Contract Year

2024, 89 Fed. Reg. at 30626. Yet commentors noted that this                       overhead; technology to

power quote engines; software and hardware for call routing; hiring and training agents; marketing

campaigns; data security systems, and many others, thus guaranteeing that firms will be left to

provide those services at a loss. 17 Instead of responding to these warnings and studying the costs,

CMS simply claimed that these expenses                  be extremely difficult to accurately capture Id.

at 30625. Even so, CMS cannot flout APA standards by merely insisting that administrative costs

are unquantifiable. Chamber of Com. of U.S. v. SEC, 85 F.4th 760, 776 (5th Cir. 2023)                 [B]y

continuing to insist that the rule s economic effects are unquantifiable in spite of petitioners

suggestions to the contrary . . . fail[s] to demonstrate that its conclusion that the proposed rule. . .

is he product of reasoned decision[-]making.

          It is true that, in reviewing an agency       action, a court may not              its judgment

for that of the             Ohio v. Env t Prot. Agency, No. 23A349, 2024 WL 3187768, at *7 (U.S.



17
     CMC App. 43 44, ECF No. 21.

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 Case 4:24-cv-00446-O Document 37 Filed 07/03/24                  Page 9 of 17 PageID 13040



June 27, 2024) (citing Fox I, 556 U.S. at 513)). However, a court must still ensure that the agency

has offered    satisfactory explanation for its action[,] including a rational connection between the

facts found and the choice          Id. (citing Motor Vehicle Mfrs. Assn. of U.S., Inc. v. State Farm

Mut. Automobile Ins. Co., 463 U.S. 29, 43 (1983)). Accordingly, CMS                simply ignore . . .

important aspect[s] of the            such as the costs of overhead, marketing, data security, and

other administrative costs that CMS failed to consider and quantify when developing the Fixed

Fee. Id. Because CMS failed to substantiate how they calculated the costs of administrative

expenses; Plaintiffs are substantially likely to show that the Fixed Fee is arbitrary and capricious.

               b. The Final Rule Did Not Sufficiently Address Reliance Interests.

       The Final Rule also insufficiently addressed reliance interests. When an agency changes

course, as [CMS] did here, it must      cognizant that longstanding policies may have engendered

serious reliance interests that must be taken into                  of Homeland Sec. v. Regents of

the Univ. of Cal., 591 U.S. 1, 30 (2020) (quoting Encino Motorcars, LLC v. Navarro, 579 U. S.

211, 222 (2016)).      would be arbitrary and capricious to ignore such               Id. But this is

exactly what CMS did when it switched its position on administrative payments without providing

sufficient explanations and notice. The Rule never mentions                prior understanding that

administrative payments are            considered                   or are payments              than

                 Medicare Program Revisions, 73 Fed. Reg. at 54239; Medicare and Medicaid

Programs; Contract Year 2022 Changes, 86 Fed. Reg. at 5993. Nor did CMS assess whether their

reliance interest or competing policy concerns. CMS ignored comments and concerns that the Final

Rule would harm long standing business models and possibly upend the industry. This further

indicates that the Final Rule is arbitrary and capricious.




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Case 4:24-cv-00446-O Document 37 Filed 07/03/24                Page 10 of 17 PageID 13041



               c. The Contract-Terms Restriction Did Not Provide Fair Notice.

       In this same vein, the Contract-Terms Restriction failed to provide fair notice of what was

prohibited. See FCC v. Fox Television Stations, Inc. (Fox II), 567 U.S. 239, 253 (2012). The

Contract-Terms Restriction prohibits any contract term that         a direct or indirect effect of

creating an incentive that would reasonably be expected to inhibit an agent or          ability to

objectively assess and recommend which plan best fits the health care needs of a

Changes to MA for Contract Year 2024, 89 Fed. Reg. at 30829. In response to comments asking

for clarity, CMS offered examples of prohibited conduct in the preamble. Id. at 30620 30621.

While listing in the preamble examples of what conduct the Final Rule prohibits clarified the

Contract-Terms Restriction to a certain extent, it also may have expanded the reach of the

restriction without some meaningful identification of exactly what conduct is prohibited. This too

is arbitrary and capricious. See Mock v. Garland, 75 F.4th 563, 585 (5th Cir. 2023) (setting aside

a rule that provided    meaningful clarity about what constitutes                  conduct).

               d. CMS Did Not Sufficiently Respond to Public Comments.

       Finally, CMS also failed to sufficiently respond to public comments. Agencies are required

 to consider all relevant factors raised by the public comments and provide a response to

significant points within. Chamber of Com. of U.S. v. SEC, 85 F.4th at 774 (citing Huawei Techs.

USA, Inc. v. FCC, 2 F.4th 421, 449 (5th Cir. 2021). The agency must respond to comments that

     be thought to challenge a fundamental premise underlying the proposed agency decision or

points that if true and adopted would require a change in an           proposed        Carlson v.

Postal Regul. Comm n, 938 F.3d 337, 344 (D.C. Cir. 2019) (cleaned up) (quoting MCI WorldCom,

Inc. v. FCC, 209 F.3d 760, 765 (D.C. Cir. 2000)); Mexican Gulf Fishing Co. v. U.S. Dep t of Com.,

60 F.4th 956, 971 (5th Cir. 2023) (cleaned up) (quoting Huawei, 2 F.4th at 449).



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Case 4:24-cv-00446-O Document 37 Filed 07/03/24                          Page 11 of 17 PageID 13042



        Industry comments to the proposed rule included: (i) asking CMS to clarify the Contract-

Terms Restriction,18 (ii) warning that the use of a fixed fee compensation could harm the industry

and push some participants to leave, in turn, reducing plan options that are available to

beneficiaries, 19 and (iii) noting that many carriers typically pay more than $100 for administrative

services.20 Defendants claim that the sources Plaintiffs criticized were not significant enough to

warrant defending them.21 But many comments considered central points to the Final Rule, such

as the Commonwealth Report, which is                        central evidence for its assertion that current

payments have                     outpaced . . . market          or the $100 Fixed Fee. Medicare Program;

Contract Year 2025, 88 Fed. Reg. 78476, 78554 (Nov. 15, 2023). Similarly, commenters asked

CMS to clarify the Contract-Terms Restriction and explain how the Rule would apply to contracts

predating its effective date. Accordingly, because CMS failed to address important problems to

their central evidence, the Fixed Fee, and Contract-Terms Restriction that members of the public

raised during the comment period, those aspects of the Final Rule are most likely arbitrary and

capricious.

                 e.            Response Does Not Remedy These Issues.

        CMS responds to these deficiencies by citing to factual material that was not disclosed by

CMS when it promogulated the Final Rule. While this material may substantiate some of

claims, it does not adequately explain how or why CMS reached the $100 Fixed Fee, its reasoning

for reversing a fifteen-year position, or its lack of responses to significant comments.22 Because



18
            App. 13 17, ECF No. 21.
19
   Id. at 46 49.
20
   Id.
21
   CMS Resp. 34, ECF No. 24.
22
   This material also raises the issue of post hoc rationalizations and lack of disclosure during the rule making
process. Texas v. Becerra, 575 F. Supp. 3d 701, 720 (N.D. Tex. 2021) (quoting State Farm

agency action and cannot consider post hoc rationali         .

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Case 4:24-cv-00446-O Document 37 Filed 07/03/24                   Page 12 of 17 PageID 13043



CMS failed to (i) substantiate key claims, (ii) consider reliance interest, (iii) provide fair notice,

and (iv) respond to comments about the Fixed and Contract-Terms Restriction, the Final Rule is

likely arbitrary and capricious. Thus, Plaintiffs have shown that they are substantially likely to

succeed on the merits of their claims against the Fixed Fee and Contract-Terms Provision.

            2.      ABC Fails to Show Substantial Likelihood of Success on Their Claim
                    Against the Consent Requirement.




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23
   ABC Br. 20, ECF No. 8.
24
   Id. at 9.
25
   CMS Resp. 38, ECF No. 24.

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Case 4:24-cv-00446-O Document 37 Filed 07/03/24                  Page 13 of 17 PageID 13044



        B.

        Next, Plaintiffs must demonstrate a substantial threat of irreparable harm. The Fifth Circuit

                              if it cannot be undone through monetary             Dennis Melancon,

Inc. v. City of New Orleans, 703 F.3d 262, 279 (5th Cir. 2012) (quoting Interox Am. v. PPG Indus.,

Inc., 736 F.2d 194, 202 (5th Cir. 1984)). A showing of economic loss is usually insufficient to

establish irreparable harm because damages may be recoverable at the conclusion of litigation.

Janvey v. Alguire, 647 F.3d 585, 600 (5th Cir. 2011). However,            exception exists where the

potential economic loss is so great as to threaten the existence of the                      Atwood

Turnkey Drilling, Inc. v. Petroleo Brasileiro, S.A., 875 F.2d 1174, 1179 (5th Cir. 1989). Or where

costs are nonrecoverable because the government-defendant enjoys sovereign immunity from

monetary damages, as is the case here, irreparable harm is generally satisfied. See Wages & White

Lion Invs., L.L.C. v. FDA, 16 F.4th 1130, 1142 (5th Cir. 2021). Irreparable harm must be concrete,

non-speculative, and more than merely de minimis. Daniels Health Servs., 710 F.3d at 585; Dennis

Melancon, Inc., 703 F.3d at 279 (cleaned up).

        Plaintiffs have shown that their members and the Individual Plaintiffs are likely to suffer

irreparable harm in at least two ways if the Final Rule is not temporarily stayed while litigation is

pending. First, Plaintiffs contend that the Final Rule will alter their business operations. Namely,

if the Final Rule is not stayed, stakeholders will have to                                   at great

expense. 26 Likewise, firms will have to alter how much they will spend on marketing activities

and hiring new agents.27 At bottom,                              Rule remains in effect in mid-July,

firms will hire fewer agents than usual and shrink their marketing budgets. 28



26
   ABC Br. 23, ECF No. 8.
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   CMC Br. 22, ECF No. 20.
28
   CMC App. 225, 231-32, ECF No. 21.

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Case 4:24-cv-00446-O Document 37 Filed 07/03/24                  Page 14 of 17 PageID 13045



                                                                  Career Colls. & Schs. of Texas v.

DOE, 98 F.4th 220, 237 (5th Cir. 2024) (finding irreparable harm where agency action forced

plaintiff to abandon business plans).

          Second, Plaintiffs estimate that parts of Final Rule could cost carriers upwards of one-

                                                                                                they

may go out of business if the Final Rule is not stayed. 29

immunity from monetary damages,

demonstrate irreparable harm. Wages & White Lion, 16 F.4th at 1142.

          Plaintiffs purported delay in seeking relief does not militate against a showing of

irreparable harm.30



                           Wireless Agents, L.L.C. v. T-Mobile, USA, Inc., No. 3:05-cv-0094-D, 2006

WL 1540587, at *4 (N.D. Tex. June 6, 2006) (cleaned up). Courts generally consider anywhere

from a three-month delay to a six-

Leaf Trading Cards, LLC v. Upper Deck Co., No. 3:17-cv-3200-N, 2019 WL 7882552, at *2 (N.D.

Tex. Sept. 18, 2019) (collecting cases). Here, Plaintiffs waited only six weeks to seek a stay. This

alleged delay does not undermine a finding of irreparable harm.

          C. The Balance of Equities and the Public Interest Favor Issuing a Stay.

          The final two elements necessary to support injunctive relief   the balance of the equities

(the difference in harm to the respective parties) and the public interest

Government is a party. Nken

claims of injury and . . . consider[s] the effect on each party of the granting or withholding of the


29
     CMC App. 46, ECF No. 21.
30
               24, ECF No. 24.

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Case 4:24-cv-00446-O Document 37 Filed 07/03/24                       Page 15 of 17 PageID 13046



                               simultaneously considering the public consequences of granting injunctive

relief. Winter, 555 U.S. at 24 (internal citations omitted).

       The harms ABC, CMC, and their members face by failing to maintain the status quo are

substantially more severe than those faced by CMS. The Court is not convinced that the current

compensation framework              which has been in place for over fifteen years   is so flawed that it

requires these sweeping new requirements now or that beneficiaries would be unfairly prejudiced

by granting a stay pending final judgment.

       Additionally, the Court has already concluded that Plaintiffs have each established credible

threats of irreparable injury absent relief from enforcement of the Fixed Fee and Contract-Terms

Restriction. Generally, there is no public interest in the perpetuation of unlawful agency

           Louisiana v. Biden, 55 F.4th 1017, 1035 (5th Cir. 2022) (citing State v. Biden, 10 F.4th

538, 560 (5th Cir. 2021)). In this respect, the government-public-interest equities evaporate upon

an adverse decision touching upon the merits. See Sierra Club v. U.S. Army Corps of Eng rs, 990

F. Supp. 2d 9, 43 44 (D.D.C. 2013) (Jackson, J.) (expounding that public interest arguments are

                 . . . [the]

This remains true even in pursuit of desirable ends that the Government may seek here. Wages

& White Lion Invs., 16 F.4th at 1143 (quoting Ala. Ass n of Realtors v. HHS, 141 S. Ct. 2485, 2490

(2021)).

       For these reasons, the Court holds that the balance of equities weighs in favor of granting

             Motions for a Stay and that the public interest is not disserved by affording such relief.

                                *       *       *      *      *       *      *




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Case 4:24-cv-00446-O Document 37 Filed 07/03/24              Page 16 of 17 PageID 13047



       Having considered the arguments, evidence, and applicable law, the Court holds that the

relevant factors weigh in favor of a section 705 stay of the Fixed Fee and Contract-Terms

Restriction.

       D. Relief Should Not be Party Restricted




                                Career Colls. & Schs. of Texas




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Case 4:24-cv-00446-O Document 37 Filed 07/03/24               Page 17 of 17 PageID 13048




V.     CONCLUSION

       For the reasons stated above,          Motions are GRANTED in PART and DENIED

in PART. The Court STAYS the effective date of the Fixed Fee and Contract-Terms Restriction

in the Final Rule   specifically, those amending 42 C.F.R. § 422.2274(a), (c), (d), (e) and §

423.2274(a), (c), (d), (e) during the pendency of this suit and any appeal. The Parties SHALL

submit a joint schedule for summary judgment briefing by no later than July 17, 2024.

       SO ORDERED on this 3rd day of July 2024.


                                                   _____________________________________
                                                   Reed OConnor
                                                   UNITED STATES DISTRICT JUDGE




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